         Case 1:21-cv-00087-GSK Document 16                 Filed 05/12/21     Page 1 of 5




                  UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE GARY S. KATZMANN, JUDGE
 FUJIAN YINFENG IMP & EXP TRADING CO.,                  )
 LTD.,                                                  )
                 Plaintiff,                             )
       v.                                               )
                                                        )
 UNITED STATES,                                         )             Court No. 21-0087
                        Defendant,                      )
         and                                            )
                                                        )
 COALITION OF AMERICAN MILLWORK                         )
 PRODUCERS,                                             )
                Defendant-Intervenor.                   )
                                                        )


          JOINT STATUS REPORT AND PROPOSED BRIEFING SCHEDULE

       Pursuant to U.S. Court of International Trade Rule 56.2(a), counsel for the parties to the

above-captioned matter have consulted and submit to the Court the following Joint Status Report

and Proposed Briefing Schedule.

                               I.      JOINT STATUS REPORT

       In response to the questions set forth in Rule 56.2(a), the parties state the following:

1.     Does the court have jurisdiction over the action?

       Plaintiff asserts that the Court has jurisdiction over this action pursuant to 19 U.S.C. §§

1516a(a(2)(A)(i)(II), 1516a(a)(2)(B)(i), and 28 U.S.C. § 1581(c). Defendant and Defendant-

Intervenors are unaware of any basis to challenge the Court’s jurisdiction at this time.

2.     Should the case be consolidated with any other case, or should any portion of the
       case be severed, and the reasons for such severance?

       The parties agree that there are no cases that should be consolidated with this case. The

parties further agree that no portion of this case should be severed at this time.


                                                  1
         Case 1:21-cv-00087-GSK Document 16                   Filed 05/12/21    Page 2 of 5




3.      Should further proceedings in this case be deferred pending consideration of
        another case before the court or any other tribunal and the reasons for such
        deferral?

        The parties agree that this case should not be deferred pending resolution of another case

before the Court or any other tribunal.


4.      Should the court be aware of any other information at this time?

        The parties are not aware of any other information of which the Court should be aware at

this time.


                            II. PROPOSED BRIEFING SCHEDULE

        After consultation pursuant to USCIT Rule 56.2, taking into account the schedules of the

parties’ counsel, the parties agree that this case should be decided pursuant to USCIT Rule 56.2,

Judgment Upon an Agency Record for an Action Described in 28 U.S.C. § 1581(c). The parties

agree that the following schedule is appropriate in this case:

        July 23, 2021           Plaintiff shall file their motion for judgment on the agency record
                                and supporting brief.

        October 1, 2021         Defendant and Defendant-Intervenor shall file their response
                                briefs.

        November 1, 2021        Plaintiff shall file their reply brief.

        Pursuant to Rule 56.2(c)(3), within 14 days of the date of filing of the reply briefs, i.e., on

November 15, 2021, Plaintiff will file a single joint appendix containing a copy of those portions

of the administrative record cited in the briefs filed by all parties.

        Pursuant to Rule 56.2(e), within 21 days of the date of filing of the reply briefs, i.e.

currently November 22, 2021, motions for oral argument, if any, shall be filed.




                                                    2
         Case 1:21-cv-00087-GSK Document 16      Filed 05/12/21    Page 3 of 5




                                     Respectfully submitted,


On behalf of Plaintiff Yinfeng.:

                                     /s/ Gregory Stephen Menegaz
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On behalf of the United States:

                                     BRIAN M. BOYNTON
                                     Acting Assistant Attorney General


                                     JEANNE E. DAVIDSON
                                     Director

                                     /s/ Tara K. Hogan.
                                     TARA K. HOGAN.
                                     Assistant Director

OF COUNSEL:                          /s/ Ioana Cristei
SHELBY M. ANDERSON                   Ioana Cristei
Senior Attorney                      Trial Attorney
U.S. Department of Commerce          U.S. Department of Justice
Office of the Chief Counsel          Civil Division, Commercial Litigiation
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                                     Washington, DC 20044
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On behalf of Defendant-Intervenor:

                                     /s/ Timothy C. Brightbill
                                     Timothy C. Brightbill
                                     Wiley Rein LLP
                                     1776 K Street, NW
                                     Washington, DC 20006
                                     Tel: (202) 719-7000

Dated: May 12, 2021

                                        3
         Case 1:21-cv-00087-GSK Document 16                    Filed 05/12/21    Page 4 of 5




                   UNITED STATES COURT OF INTERNATIONAL TRADE


BEFORE: THE HONORABLE GARY S. KATZMANN, JUDGE
 FUJIAN YINFENG IMP & EXP TRADING CO.,                     )
 LTD.,                                                     )
                 Plaintiff,                                )
       v.                                                  )
                                                           )
 UNITED STATES,                                            )              Court No. 21-0087
                         Defendant,                        )
         and                                               )
                                                           )
 COALITION OF AMERICAN MILLWORK                            )
 PRODUCERS,                                                )
                Defendant-Intervenor.                      )
                                                           )


                                                ORDER

        Upon consideration of the parties’ Joint Status Report and Proposed Briefing Schedule, it

is hereby

        ORDERED that the following briefing schedule is established:

        July 23, 2021           Plaintiff shall file their motion for judgment on the agency record
                                and supporting brief.

        October 1, 2021         Defendant and Defendant-Intervenor shall file their response
                                briefs.

        November 1, 2021        Plaintiff shall file their reply brief.

        Pursuant to Rule 56.2(c)(3), within 14 days of the date of filing of the reply briefs, i.e., on

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currently November 22, 2021, motions for oral argument, if any, shall be filed.



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       Case 1:21-cv-00087-GSK Document 16    Filed 05/12/21    Page 5 of 5




      SO ORDERED.


                                 _______________________________
                                 The Hon. Gary S. Katzmann, Judge
                                 United States Court of International Trade
Dated: __________________
       New York, New York




                                    2
